

Matter of Killaby v Lee (2018 NY Slip Op 07594)





Matter of Killaby v Lee


2018 NY Slip Op 07594


Decided on November 9, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: SMITH, J.P., CENTRA, PERADOTTO, CURRAN, AND TROUTMAN, JJ.


1132 CAF 17-01422

[*1]IN THE MATTER OF DEBORAH J. KILLABY, PETITIONER-RESPONDENT,
vLAWRENCE P. LEE, RESPONDENT-APPELLANT, AND RACHEL BANTLE, RESPONDENT-RESPONDENT. 






CARA A. WALDMAN, FAIRPORT, FOR RESPONDENT-APPELLANT.
TYSON BLUE, MACEDON, FOR RESPONDENT-RESPONDENT. 
	 


	Appeal from an order of the Family Court, Wayne County (Richard M. Healy, A.J.), entered July 24, 2017 in a proceeding pursuant to Family Court Act article 6. The order, among other things, awarded primary physical custody of the subject child to petitioner. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs for reasons stated in the decision at Family Court.
Entered: November 9, 2018
Mark W. Bennett
Clerk of the Court








